        Case 4:17-cv-07093-YGR Document 49 Filed 03/12/19 Page 1 of 2

Michael L. Rodenbaugh
California Bar No. 179059
Marie E. Richmond
California Bar No. 292962
RODENBAUGH LAW
548 Market Street, Box No. 55819
San Francisco, CA 94104
(415) 738-8087

Attorneys for Mohammad Mukati


                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA



    MOHAMMAD MUKATI.,                           Case No. 17-cv-07093 YGR (SK)

                    Plaintiff,
            vs.                                 PLAINTIFF’S NOTICE OF
                                                VOLUNTARY DISMISSAL
    JOHN DOE et al.,

                    Defendants.




      Pursuant to FRCP 41(a)(1)(A)(i), Plaintiff Mohammad Mukati, hereby voluntarily

dismisses this action without prejudice.



DATED: March 12, 2019

                                                Respectfully submitted,

                                                _/s/ ​Mike Rodenbaugh 
                                                Michael L. Rodenbaugh
                                                California Bar No. 179059
                                                RODENBAUGH LAW
                                                548 Market Street, Box No. 55819
                                                San Francisco, CA 94104
                                                (415) 738-8087
PLAINTIFF’S RESPONSE TO COURT ORDER
DIRECTING FURTHER BRIEFING [DKT. NO. 44]                      CASE NO. 17-cv-07093 YGR (SK)

                                           1
        Case 4:17-cv-07093-YGR Document 49 Filed 03/12/19 Page 2 of 2

                                 CERTIFICATE OF SERVICE

      I hereby certify that on March 12, 2019, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system which will send notice of electronic filing to all parties

at the email addresses on file with the Clerk of Court.


                                            Marie Richmond
                                     By: ​/s/ ​
                                     Marie Richmond
                                     RODENBAUGH LAW
                                     584 Market Street
                                     Box 55819
                                     San Francisco, CA 94014
                                     Tel/fax: (415) 738-8087




PLAINTIFF’S RESPONSE TO COURT ORDER
DIRECTING FURTHER BRIEFING [DKT. NO. 44]                           CASE NO. 17-cv-07093 YGR (SK)

                                             2
